Case 2:20-cv-02381-GRB-ST Document 18-1 Filed 08/03/20 Page 1 of 5 PagelD #: 60

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 

AZZIL GRANITE MATERIALS, LLC, CASE NO. 20-cv-02381
PLAINTIFFS

v. AFFIDAVIT OF
WILLIAM A. MULLINS
CANADIAN PACIFIC RAILWAY CORP., IN SUPPORT OF
DELAWARE AND HUDSON RAILWAY MOTION TO ADMIT

COMPANY, AND NEW YORK AND COUNSEL PRO HAC
ATLANTIC RAILWAY, VICE
DEFENDANTS

 

 

i, William A. Muilins, being duly sworn, hereby depose and say as follows:

1. {am a Partner with the law firm of Baker & Miller, PLLC.

2. I submit this affidavit in support of my motion for admission to practice pro jue
vice in the above-captioned matter.

3. As shown in the Certificates of Good Standing annexed hereto as Exhibit A, lam
a member in good standing of the bar of the states of Colorado and the District of Columbia.

4, There are no pending disciplinary proceedings against me in any state or federal
court.

ao i have not been convicted of a felony.

6. T have not been censured, suspended, disbarred or denied admission or
readmission by any court.
7. Wherefore, your affiant respectfully submits that he be permitted to appear as co-

eounsel and advocate pro hac vice in case number 20-cv-02381 for defendant New York &

Atlantic Railway Company.
Case 2:20-cv-02381-GRB-ST Document 18-1 Filed 08/03/20 Page 2 of 5 PagelD #: 61

+. Sgear s eC.
putea: Se Kee

gio 3 2020

 

BAKER & MILLER, PLLC

William A. Mullins, Esq.
wmullins@bakerandmiller.com
2401 Pennsylvania Avenue
Suite 300

Washington, D.C. 20037
Phone: (202) 663-7832

Fax: (202) 663-7849

 

Attorneys for Defendant
New York & Atlantic Railway Company

NOTARIZED

 
Case 2:20-cv-02381-GRB-ST Document 18-1 Filed 08/03/20 Page 3 of 5 PagelD #: 62

Exhibit A
Case 2:20-cv-02381-GRB-ST Document 18-1 Filed 08/03/20 Page 4 of 5 PagelD #: 63

 

 

BD

 

On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
the District of Columbia Bar does hereby certify that

Welérm AL Mulbns

was duly qualified and admitted on May 12, 1989 as an attorney and counselor entitled to
practice before this Court; and is, on the date indicated below, a(n)
ACTIVE member in good standing of this Bar.

In Testimony Whereof,

I have hereunto subscribed my
name and affixed the seal of this
Court at the City of
Washington, D.C., on July 22,
2020.

A. Contill

JULIO A. CASTILLO
Clerk of the Court

L fie Phin
Issued By:

District of Columbia Bar Membership

For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
memberservices@dcbar.org.

 

 
Case 2:20-cv-02381-GRB-ST Document 18-1 Filed 08/03/20 Page 5 of 5 PagelD #: 64

yD Minder
" = i tg
__1e __ Ad
Ssuadaa]g JAsayy)
OC Amp POP page

   

SUG! ‘31015 pips wi ‘saauacy fv ‘1anOr) suadns pies fo tox, ag1 paxifo
pur suvu hu poqusgns ojuneseq meq 1 ‘AQOTUTHAN SSANLIA NI

“4DG] $1y] }) Bulpunys poos uy s3

 

SNITTONW NVTV WVITHM PrDs 2y7
foaisy ayop ay} jp Joy] pup 8961 ‘dv Aone (fo flop

 

WIZ ay) ajop fo aoyfo fut uy mo7q jo siojasunoy) pud

Sfiautoyp fo }JOY ay? uodn sapaddo ausvu say /siy JOY} puD /2}D]g siy) uly)

MVY LY YOTASNNO?) GNV AINYOLLY>

uD so 29}}9D10 OF paj]iwpD pub pasuad}} fiynp uaag spy

 

SNITINA NVTV AVITUM

104} fifyjie9 figaiay op ‘opviojoy
fo a1DIg ay) fo qinoy awasdng ay] fo y197 ~  SUuaAAly [ATID dal Tl

‘88 ‘OGVUOTOD JO ALVIS

 
